       Case 1:08-cr-00056-SM      Document 39    Filed 09/29/08   Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 08-cr-56-01/03/04-SM

Raymond Cole, Joshua Benoit
and Garret Morin

                                    ORDER

      Defendant Raymond Cole has filed a motion to continue the final pretrial

conference and trial (document no. 38). Trial has been rescheduled for the

January 2009 trial period. Defendant Cole shall file a waiver of speedy trial

rights not later than October 9, 2008. On the filing of such waiver, the

continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: January 9, 2009 at 2:00 p.m.

      Jury Selection: January 21, 2009 at 9:30 a.m.
      Case 1:08-cr-00056-SM   Document 39   Filed 09/29/08   Page 2 of 2




      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge


September 29, 2008

cc:   Donald Kennedy, Esq.
      Charles Keefe, Esq.
      Paul Twomey, Esq.
      Terry Ollila, AUSA
      US Probation
      US Marshal




                                    2
